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                      XN THE UNITES STATES AZSTRICT COURT
                          FOR T~iE DISTRT~~ OF CULUN~tBIA


 JUSTINE HURKY,
                       Plaintiff,
            ►+~                                            Casa No, 1:I8-c~v-243S

 ~'ED~RAL DEPOSIT CNSTJR~NCE CQRPORATIDN,
 30~-IN R.JILgVEC,and ~ICLAR.Y L. H4SKINS,
        Defendants.




         DEFENDANT FEDERAL DEPOSIT INSi[TRANCE C0~2.~'OI2AT~01'+1'S
       CERTIk"IE~.1 LIST OF CONT~~ITS +C?F THE ADMIlYrSTRATIVF REC012D

       I, Valerie Bast, t~ssistant Executive Secretary ofthe ~'~dera7 DepositInsurance

Corporation,hereby certify that the documents fisted belowaons~itute the ~dzni~iistrrative ~tecord

underlying the FDTC's Septetx~ber 19,2018 final agencq determination that the Notice of C~iange

of Central was abandoned as znconaplete undex 22 C.F.R.§ 303.11(e).



                                     Dated: February 22,2019




                                     ~r~e~'IS ~@Sr
                                     Assistanfi Executive Secretary, FDIC
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Document               Document Descri tion                         Bates Ran e
    1    October  11, 2Q17  FDIC Memorandum re              FDTCAR000001-FDICAR000042
         Meeting with Pxoposed Acquirer(Bank of
         Orrick
   2     October 29,2017 Letter from David Baris,           FDICAR000043~FDIGA.R.000047
         Buckley Sandlex LLP to FDIC re Jr~stine Hurry
         ("Octobex 29,2017 Letter")
   3     A endix Ito Octobex 29,2017 Letter                 FDICAROQ0048-FDICAR000084
   4     A endix II to October 29,2017 Lettex               FDICAR000085-FDICAR000096
    5~   November 7,2017 FDIC Response to October           FDICAR000097-FDICA.R000098
         29,2Q17 Letter
   6     November 14,2017 Interagency Biograp~iical &       FDICAR000099-FDICAR000375
         Financial Report and Application for Change in
          Control re rustine Hurry (received November
         29,2417)
    7    Decembex 8,2017 FDIC Response to Notice of         FDTCAR000376-FDTCAR000380
          Change in Control
    8    December 2~,2017 Letter enclosing updated          FDICAR000381-FDICAR000679
         Interagency Notice of Change in Control and
          Financial Re ort {received December 22,20J 7
    9     January 12,2018 FDIC Response to Notice of        FDICAR000680-FDICAR000686
          Change in Control
   10     January 25,2018 FDIC Memorandum re Change         FDICAR000687-FDICAR0006$8
          in Control Meeting
   11     February 23,241$ FDIC Mamorarzdum re              FDICAR000689-FDICAR000690
          Change in Control Meeting
   12     March 9,20Z$ lettex enclosing updated             FDZCAR000691-FDICAR~OQ972
          Interagency Notrce of Change in Control and
          Financial Report(xeceived March 13,201$)
   13     March 23,2018 FDIC Response to Notice of          FDICAR000973-FDICAR000974
          Change in Control
    14    March 30,2018 Letter to FDIC re Change in         FDICAR.000975-FDICAR000983
          Control Application(received A ri12, 2018)
    15    April 24,2018 FDIC Mernoranduxn re Change in      FDICAR4Q09$4-FDICAR000986
          Control Notice
    16    May 3Q,2018 FDIC Memorandum re Change in          FDICAR000987
          Control Meeting
    17    June 1,2018 FDIC Letter re Change in Control      FDICAR000988-FDICAR.QOQ989
          Nonce
    18    June 22,2418 Response to FDIC Letter              FDICAR000990-FDICAR004996
          (xeceived June 26,2018)
    19    July 2,2018 letter to FDIC re Change in Control   FDIC.AR000997-FDICAR001050
          Notice
    20    July 24,2018 FDIC Letter re Change iz~ Contxol    FDICAR001051
          Notice
    21     August 9,201$ Response to FDIC Letter            ~DICAROOlfl52-FDICAR001053
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22     August 16,2Q18 FDIC Memorandum re Change        FDICARQ01454
       in Control conference call
23     August 28,2018 FDIC Memorandum re Change        FDICAR001055-FDICA,R001068
       in Control Notice
24     September 7,2018 FDIC Memorandum re             FDIC.A,R001069
       Change in Control meetin
25     September 10,2018 Letter to FDIC re Change in   FDICAR001070-FDICAR001071
       Control Notice
26     September 19,2018 FDIC letter re Change in      FDICAR001072
       Control.Notice
